AO 93 (Rev.12/09)SearohandSeiznreWnnvmt                    ,    --                    (    hl



                                     U M TED TATES IS                              CT C O              T
                                                                 forthe
                                                       W estern DistrictofVirgiaia

                In the M atterofthe Search of
             (
             Brt
             ore
               f
               #jely d
                     /esc
                   zll
                     l  thre
                           ibpe
                             et
                              rhse
                                 op
                                  nr
                                   bo
                                    pe
                                    ynr
                                      at
                                       ytoab
                                       me  ne
                                            ds
                                             ae
                                              dad
                                                rrcehse
                                                      sd
                                                       )                      CaseNo.j
                                                                                     I:)
                                                                                       IQIW .
                    12499 RichValley Road
                          Bristol,VA

                                            SEAR CH                  SEIZIJRE W AR RANT
To:      Ahy ae olized law enforcementom cer
       An applicaéon by afederallaw enforcem entom cerorallattorney forthe governm entrequeststheser ch
ofthefollowing person orproperty located inthe       W nufmrn        DisG ctof             Virgini
                                                                                                 a
(îdentl
      h thepersonordescribethepropert
                                    ytobesearchedandgiveitsloclfforp:
 12499 Rich Valley Road,Bristol,VA -to includethe residence,curtilage,garages,outbuildings,camperstand vehicles
 present.AttachmentA consists ofa photograph ofthe residence.
         'I'hepdrson orpropertytobesearchedvdescribed abovemisbelievedtoconceal(îdentl
                                                                                     h thepersonordescribethe
propertytobeJc/zcy:
 SO M aCM              1.


         IfndthattlleRmdavitts),oranyrecordedteeimony,establiKhmobablecausetosearchandseizethepersonor
Property.

         voc Auzco                        sotoexecutetuswarrantonorbeore                        )auvar             q a nl
                                                                                                 (no toexce d14dlcyw?
      O in the dayum
                   ' i 6:00 a.m .to 10 p.m .                   atany tim e inthe day ornightasIfmd reasonable causehasbeen
                                                               established.

         Unlessdelayednoéceisautholizedbelom youmust#veacopyofthewan'antandareceiptfortheproperty
taken to theperson 9om whomvorâom w hosepremises,theproperty wastakew orleavethecopy and receiptattlle
placewheretheproperty wastaken.
         n e om cerexecue g thiswnrrnntaoraa om cerpresentdnring the execution ofthe warrant,mustprepare an
inventoryasrequiredby1aw andpromptlyretnrnthiswarrantandilwentorytoUnitedSGtesM absAatcJudge
                    Pamela Meade Sargent                             .
                              (name)
     O Ifmdtlzatimmed'atenotifcationmayhaveanadverseresultlistedin 1SU.S.C. 2765(exceptfordela
oftrialsandau 'etheoffcerexecu' swarranttodelay 'etothepe who.or                    prop swillbe
searched          eized(checktheapproprt 0x? Ofor                        d   (nottoexcee    .
                                                     Olmdl,th actsjust/
                                                                      iem
                                                                       *' , latersp                   cdateo                 .
Dateandfim eissued: '/ùo pq g'
         .
                             ,yasfa
                                  m.
                                                                                                Judge:çsignature

 City alld state:           Abingdon. virginia                                      pamela Meade Sargent.USMJ
                                                                                            Printedname JA;J title


                  Case 1:19-mj-00003-PMS Document 2 Filed 01/15/19 Page 1 of 4 Pageid#: 9
                     A TTA C H M EN T A




                   12499 RichValley Road,Bristol,VA




Case 1:19-mj-00003-PMS Document 2 Filed 01/15/19 Page 2 of 4 Pageid#: 10
                               ATTACHM ENT B


1. M ethamphesamiqe(IistributionN aphernaliaincluding(butnotlimitedto)
   scales,cuttingmaterial,plasticbaggies,wrappingmateriak devicesusedto
   commlmicatewith otherdntgtram ckers/co-conspiratorsincluding cellular
   telephonesand two-way radios;electronic equipmentusedforcotmter-
   surveillancetoincludevideosurveillancesystemsandrelatedDVRS(digitalvideo
   recorders),scannersaandané-buggingdevices;spcciallybuilthidden compartments
   orm m nvork/docum entation gvidencingth@building ofllidden compartmgntson
   vebicles(such comm mtmentsareroutinelyusedbynarcoticstraftkkerstpconceal
   and transportcontrolled substancesand theproceedsfrom thesale ofconlolled
   substances).
2. Firearm s,including butnotlimitedtohandguns,rifles,and shotgunsthatare
   com monly used by individualsto prptectcontrolled subslnncesand related drtzg
   proceeds/mssets.Firearms.oRentimesstolenaare alsoroutinely bartered in exchange
   forcontrolled substances.

   Books,records,ledgers,notes,andvideospertainingtotheillicitdistribution,
   purchaging,andtransporting gfmethnmphetnm ine.

4. M essages,letters,telephonenum bers,and addressesrelatingto custom ers,suppliers,
   and otherco-conspiratorsinvolved with the illicitdistribution,purchasing,and
   t'
    rangporting ofmethamphetamine.Thesemessages,letters,telephonemlmbers,
   and addressesm ay bewritten on personalcalendars,pçrsonaladdressand/or
   telephone books.Rolodextype indices,notebooks,loosepiecesofpam r,and fotmd
   in m ail.

5. Photographsand videosdepictingm ethamphètam ine,drugdistdbution
   m raphernalia,substantialassets,co-conspirators,and personswith
   metham phetamine,

   Books,ledgers,receipts,bank statem ents,casllier'schecks,and otlxritem s
   evidencing theacquisition,secreéng,transfening and/orconcealmentofassetsorthe
   expenditureofnarcoticsproceeds.
   Itemsorarticlesofjersonalpromrtytendlngtoshow ownershl
                                           .
                                                        2p, dom inionaor
   conkolofthepivmlses/property/vehicles.Suchitemsorarticlesincludetbutarenot
   limitedto)m rsonalidentiEcationvm rsonalcorrespondence,diaries,checkbooks,
   notes,photographs,keys,receipts,mail,m rsonaltelephone and addressbooks,
   videosxandmotorvehiclerelateddoclzments(titles/registrations).
8. Largeamountsofcuaency(exceeding$1000.00)orreadilytransportqdassets
   whichareusedascash equivalents(cashier'schecks,gold,diamonds,precious
  jewels,highvaluewatches,etc.).



Case 1:19-mj-00003-PMS Document 2 Filed 01/15/19 Page 3 of 4 Pageid#: 11
                          ATTAC           B (Continued)

9. Stolenproperty(e.g.flrearms,jewelry,m wertools,electronics,motorvehicles).
   Stolenpropertyisroutinelybarteredfordnljsandrecoveredby1aw enforcement
   9om locationsunderthe controlofpersonslnvolved with the
   traftk hng/distribution ofcontrolled substances.

10.Itemslisted in Paragraphs 1and 3through 7 m aybe storedindigitalmedia.
   Therefore,digit-tlmedia(includingbutnotlimitedtocomputers/computerhard
   drives,digillvideorecorders(DVRs),floppydislcs,CD's,DVD's,flash/jump
   dtives,personaldigitalassistants(PDA's),celllllartelephones/smm phones,digital
   camerasxPoDsmPM lsxtablets/tabletcomputersetc.)aretobeseizedandexamined
   (bothon-siteandoff-sitebywhatevermeansavailabletothegovernment)forthe
    itemslisted ih Parar aphs1and 3 through 7.




Case 1:19-mj-00003-PMS Document 2 Filed 01/15/19 Page 4 of 4 Pageid#: 12
